Case 4:23-cr-00294-O Document 25 Filed 12/18/23 Page 1of5 PagelD 33

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION
UNITED STATES OF AMERICA
v. NO. 4:23-CR-294-O

GABRIEL NAVA (01)

PLEA AGREEMENT WITH WAIVER OF APPEAL

Gabriel Nava (“Defendant’’), George Dewayne Huston, Defendant’s attorney, and
the United States of America (“Government”), agree as follows:

1. Rights of Defendant: Defendant understands that Defendant has the right

a. to plead not guilty;
b. to have a trial by jury;
c. to have Defendant’s guilt proven beyond a reasonable doubt;

d. to confront and cross-examine witnesses and to call witnesses in
Defendant’s defense; and

a. against compelled self-incrimination.

as Waiver of Rights and Plea of Guilty: Defendant waives these rights and

pleads guilty to the offense alleged in Count One of the Superseding Information,
charging a violation of 21 U.S.C. § 846, that is, conspiracy to possess of a controlled
substance with intent to distribute. Defendant understands the nature and elements of the
crimes to which Defendant is pleading guilty, and agrees that the factual resume

Defendant has signed is true and will be submitted as evidence.

Plea Agreement — Page 1 of 5
Case 4:23-cr-00294-O Document 25 Filed 12/18/23 Page 2of5 PagelD 34

A Sentence: The penalties the Court can impose include:

a. imprisonment for a period of not more than twenty (20) years;

b. a fine not to exceed $1,000,000;

c. a mandatory term of supervised release of not less than three (3)
years, which may be mandatory under the law and will follow any
term of imprisonment. If the defendant violates any condition of the
term of supervised release, the Court may revoke such release term
and require that the defendant serve an additional period of
confinement;

d. a mandatory special assessment of $100;

e. restitution to victims or to the community, which may be mandatory
under the law, and which Defendant agrees may include restitution
arising from all relevant conduct, not limited to that arising from the
offense of conviction alone; and

£. costs of incarceration and supervision.

4. Court’s Sentencing Discretion and Role of the Guidelines: Defendant

understands that the sentence in this case will be imposed by the Court after consideration

of the United States Sentencing Guidelines. The guidelines are not binding on the Court,

but are advisory only. Defendant has reviewed the guidelines with Defendant’s attorney,

but understands no one can predict with certainty the outcome of the Court’s

consideration of the guidelines in this case. Defendant will not be allowed to withdraw

Defendant’s plea if Defendant’s sentence is higher than expected. Defendant fully

understands that the actual sentence imposed (so long as it is within the statutory

maximum) is solely in the Court’s discretion.

Plea Agreement — Page 2 of 5
Case 4:23-cr-00294-O Document 25 Filed 12/18/23 Page 3of5 PagelD 35

5, Mandatory special assessment: Defendant agrees to pay to the U.S. District

Clerk the amount of $100.00, in satisfaction of the mandatory special assessment in this
case.

6. Defendant's agreement: Defendant shall give complete and truthful

information and/or testimony concerning Defendant’s participation in the offense of
conviction. Upon demand, Defendant shall submit a personal financial statement under
oath and submit to interviews by the government and the U.S. Probation Office regarding
Defendant’s capacity to satisfy any fines or restitution.

te Government’s Agreement: The government will not bring any additional

charges against Defendant based upon the conduct underlying and related to the
Defendant’s plea of guilty. After the sentence is announced, the government will move
to dismiss any remaining counts against the defendant. This agreement is limited to the
United States Attorney's Office for the Northern District of Texas and does not bind any
other federal, state, or local prosecuting authorities, nor does it prohibit any civil or
administrative proceeding against Defendant or any property.

8. Violation of Agreement: Defendant understands that if Defendant violates

any provision of this agreement, or if Defendant’s guilty plea is vacated or withdrawn,
the Government will be free from any obligations of the agreement and free to prosecute
Defendant for all offenses of which it has knowledge. In such event, Defendant waives
any objections based upon delay in prosecution. If the plea is vacated or withdrawn for

any reason other than a finding that it was involuntary, Defendant waives objection to the

Plea Agreement — Page 3 of 5
Case 4:23-cr-00294-O Document 25 Filed 12/18/23 Page 4of5 PagelD 36

use against Defendant of any information or statements Defendant has provided to
Government and any resulting leads.

Voluntary Plea: This plea of guilty is freely and voluntarily made and is

not the result of force or threats, or of promises apart from those set forth in this plea
agreement. There have been no guarantees or promises from anyone as to what sentence
the Court will impose.

10. Waiver of right to appeal or otherwise challenge sentence: Defendant

waives Defendant’s rights, conferred by 28 U.S.C. § 1291 and 18 U.S.C. § 3742, to
appeal from Defendant’s conviction and sentence. Defendant further waives Defendant’s
right to contest Defendant’s conviction and sentence in any collateral proceeding,
including proceedings under 28 U.S.C. § 2241 and 28 U.S.C. § 2255. Defendant,
however, reserves the rights (a) to bring a direct appeal of (i) a sentence exceeding the
statutory maximum punishment, or (ii) an arithmetic error at sentencing, (b) to challenge
the voluntariness of Defendant’s plea of guilty or this waiver, and (c) to bring a claim of
ineffective assistance of counsel.

11. Representation of Counsel: Defendant has thoroughly reviewed all legal

and factual aspects of this case with Defendant’s lawyer and is fully satisfied with that
lawyer’s legal representation. Defendant has received from Defendant’s lawyer
explanations satisfactory to Defendant concerning each paragraph of this plea agreement,
each of Defendant’s rights affected by this agreement, and the alternatives available to
Defendant other than entering into this agreement. Because Defendant concedes that

Defendant is guilty, and after conferring with Defendant’s lawyer, Defendant has

Plea Agreement — Page 4 of 5
Case 4:23-cr-00294-O Document 25 Filed 12/18/23 Page 5of5 PagelD 37

concluded that it is in Defendant’s best interest to enter into this plea agreement, and all
of its terms, rather than to proceed to trial in this case.

12. _Entirety of Agreement: This document is a complete statement of the

parties’ agreement and may not be modified unless the modification is in writing and

signed by all parties.

AGREED TO AND SIGNED this \o__ day of (), - , 2023.
/ |
LEI
Ly uM i
pC AVAL.
ABRIEL NAVA SHAWN SMITH
Defendant Assistant United States Attorney
Texas State Bar No. 24033206
801 Cherry Street, Suite 1700
Fort Worth, Texas 76102
Telepho 817.252.5200
i ¥ 47.252.5455
GEORGE-DEWA YNE HUSTON
Attorney for Defendant

I have read (or had read to me) this Plea Agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.

GABRIEL NAVA Datel
Defendant

x WN Aa fs 9

I am the defendant’s counsel. I have carefully reviewed every part of this Plea
Agre t with the defendant. To my knowledge and belief, my client’s decision to
enter into this Plea Agreement is an informed and voluntary one.

5

(L | \o
GRORGE DEWAYNE HUSTON Datel
Attorney for Defendant

Plea Agreement — Page 5 of 5
